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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY



   SANDOZ INC. and RAREGEN, LLC                  Case No. 19-cv-10170-BRM-LHG

                Plaintiffs,
                                                 PLAINTIFFS’ OPPOSITION TO
         v.                                      DEFENDANTS’ MOTION TO SEAL
                                                 MATERIALS SUBMITTED IN
   UNITED THERAPEUTICS CORP. and                 SUPPORT OF PRELIMINARY
   SMITHS MEDICAL ASD, INC.                      INJUNCTION BRIEFING

                Defendants.


                              PRELIMINARY STATEMENT

        Defendants moved to seal information that is central to Plaintiffs’ preliminary

  injunction motion and should not be shielded from public view, including, among

  other things, widely circulated communications with third parties, publicly available

  information, and information that is outdated and not competitively sensitive in any

  way. ECF No. 151. They also asked the Court to permanently seal all of their

  documents and testimony in their entirety, without proposing a single redaction to

  a deposition transcript, expert report, or supporting exhibit. With these improper

  and overbroad requests, Defendants elevated their own private concerns—regarding

  the prospect of embarrassment or public scrutiny that comes with being caught red-

  handed in a scheme to artificially inflate the price of a life-sustaining drug—over the

  public’s right to access judicial documents.
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        Under controlling Third Circuit law, the public has a right to access

  Defendants’ documents and testimony absent (1) proof that disclosure would impose

  “a clearly defined and serious injury”; and (2) a showing that there are no less

  restrictive means available to protect competitively sensitive information other than

  sealing documents in their entirety. Defendants’ motion to seal fails to satisfy either

  prong of that standard. Plaintiffs therefore respectfully submit that Defendants’

  Motion to Seal, ECF 151, should be denied with respect to the specific sealing

  requests to which Plaintiffs have lodged objections, as reflected in the attached

  Exhibit A.1

                                  LEGAL STANDARD

        “[T]here is a presumptive right to public access to all material filed in

  connection with nondiscovery pretrial motions.” Leucadia, Inc. v. Applied Extrusion

  Techs., Inc., 998 F.2d 157, 165 (3d Cir. 1993). That includes preliminary injunction

  motions. Id. at 164 (“We see no reason to distinguish between material submitted

  in connection with a motion for summary judgment and material submitted in

  connection with a motion for preliminary injunction, an exhibit to a complaint, and

  a motion to dismiss and for a more definite statement.”).




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    Exhibit A is a table identifying (i) Plaintiffs’ objections to specific sealing requests
  by Defendants, (ii) the basis for those objections, and (iii) specific sealing requests
  that Plaintiffs do not oppose.

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         “Despite the presumption, courts may deny access to judicial records, for

  example, where they are sources of business information that might harm a litigant’s

  competitive standing.” Littlejohn v. Bic Corp., 851 F.2d 673, 678 (3d Cir. 1988).

  Concerns about potential embarrassment or injury to reputation, on the other hand,

  are “not enough to rebut the presumption of access.” Republic of Philippines v.

  Westinghouse Elec. Corp., 949 F.2d 653, 663 (3d Cir. 1991).

        Thus, “[i]n order to override the common law right of access, the party seeking

  the closure of a hearing or the sealing of part of the judicial record bears the burden

  of showing that the material is the kind of information that courts will protect and

  that disclosure will work a clearly defined and serious injury to the party seeking

  closure.” In re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001) (quotations

  omitted). The party seeking protection “must show good cause by demonstrating a

  particular need for protection.” Leucadia, Inc., 998 F.2d at 166. That means

  “[b]road allegations of harm, unsubstantiated by specific examples or articulated

  reasoning” will not justify sealing a document. Id.

        Consistent with these standards, Local Civil Rule 5.3(c)(3) requires a party

  moving to seal to “describ[e] with particularity: (a) the nature of the materials or

  proceedings at issue, (b) the legitimate private or public interest which warrant the

  relief sought, (c) the clearly defined and serious injury that would result if the relief




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  sought is not granted, and (d) why a less restrictive alternative to the relief sought is

  not available.”

  I.    Defendants Moved to Seal Information That Should Be Public

        None of the materials objected to in Exhibit A meet the Third Circuit standard

  because they do not contain information that, if disclosed publicly, would threaten

  Defendants’ “competitive standing.” Littlejohn, 851 F.2d at 678.

        By way of illustration, Defendants have asked to seal:

         widely circulated third-party communications, such as end-life notices
          published by Smiths and testimony regarding those communications, see,
          e.g., ECF 151-1, at 55, 243, (moving to seal Ex. 69 to the Declaration of
          Ethan Glass (“Glass Decl.”) and Ex. EEE, which contains deposition
          testimony regarding the same);

         publicly available information, such as the terms of the patent settlement
          between United Therapeutics and Sandoz and argument in Defendants’
          Opposition Brief (ECF No. 122 at 11) regarding the same, see, e.g., ECF
          151-1 at 100 (moving to seal Glass Decl., Ex. 1006, most of which is
          available     through     United    Therapeutics     SEC      filings    at:
          https://www.sec.gov/Archives/edgar/data/1082554/00011046591507282
          8/a15-17842_1ex10d2.htm ); ECF 151-1 at 34 (moving to seal ECF 106-1
          at 21, identifying pricing information which is available at page 65 of the
          2018 Form 10-K that United Therapeutics filed with the SEC); ECF 151-
          1 at 41 (moving to seal ECF 106-1 at 34, identifying expected timeline for
          next generation delivery system which is available at page 26 of the Q3
          2019 Form 10-Q that United Therapeutics filed with the SEC);

         information that is merely embarrassing to Defendants, but not
          competitively sensitive in any way, see, e.g., ECF 151-1 at 52, 65–67, 80–
          81, 95, 97, 103 (moving to seal Glass Decl., Ex. 61, 93, 100, 151, 152, 456,
          458, 705, 708, 1009–10) and argument in the parties’ preliminary-
          injunction briefing regarding the same, see, e.g., ECF 151-1 at 2 (moving
          to seal ECF 106-1 at 2);


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         outdated information, which could not harm Defendants’ competitive
          standing on a going-forward basis (including some information that is
          more than three years old), see, e.g., ECF 151-1 at 53, 71, 73–74 (moving
          to seal Glass Decl., Ex. 67, 202, 205–07, 210, which concern discussions
          about now-superseded agreements);

         statements of pure argument, which do not divulge any competitively
          sensitive information, see e.g., ECF 151-1 at 3 (moving to seal ECF 106-1
          at 3, Plaintiffs’ argument on the current availability of their generic drug);
          ECF 151-1 at 143-44 (moving to seal ECF 122 at 33 n.14, Plaintiffs’
          argument on Defendants’ intent);

         information that is already known to persons in the industry, including
          references to the names of Defendants’ customers; see, e.g., ECF 151-1 at
          10 (moving to seal ECF 106-1 at 8-9, identifying two customers names).

        None of these categories of information should be sealed. See In re Paulsboro

  Derailment Cases, Civil No. 13-2358 (RBK/KMW), 2016 WL 6089700, at *2

  (D.N.J. Oct. 17, 2016) (“To the extent that Plaintiff is merely repeating information

  a third person communicated to her, that information is already public, and requests

  to restrain further dissemination of publicly disclosed information are moot.”)

  (quotation omitted); Janssen Prods., L.P. v. Lupin Ltd., Civ. No. 2:10-05954

  (WHW), 2014 WL 956086, at *3 (D.N.J. Mar. 12, 2014) (information in the public

  domain should not be sealed); Westinghouse, 949 F.2d at 663 (“The district court

  noted that ‘it is likely that Westinghouse is concerned most about potential

  embarrassment and injury to reputation.’ Westinghouse’s memorandum on appeal,

  which fails to refer to any specific type of competitive harm, also suggests that it is

  the company’s public image that is at stake. That is not enough to rebut the


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  presumption of access.”) (citation omitted); Younes v. 7-Eleven, Inc., No. CIV. 13-

  3500 RMB/JS, 2014 WL 1959246, at *3 (D.N.J. May 15, 2014) (“[I]t is well

  established that public embarrassment without any evidence of other harm is not a

  clearly defined and serious injury.”); Hershey Co. v. Promotion in Motion, Inc., Civil

  Action No. 07-1601 (SDW), 2010 WL 11475252, at *5 (D.N.J. Aug. 4, 2010)

  (concluding that sealing information about events that occurred several years ago

  was not warranted because “release of such stale information” was unlikely to give

  competitors “a future competitive advantage”).

        Defendants’ sweeping, self-serving claims to substantiate their sealing

  requests are not enough to rebut the presumption in favor of the public’s right to

  access judicial documents. As the Third Circuit has recognized, the party moving

  to seal must show that “disclosure will work a clearly defined and serious injury.”

  Miller v. Ind. Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (quotations omitted).

  Defendants have not made such a showing, and as a result, their motion should be

  denied.

  II.   Defendants Failed to Use the Least Restrictive Alternative By Moving to
        Seal Documents in their Entirety

        Plaintiffs further object to Defendants’ sealing requests because there are less

  restrictive means available to protect Defendants’ competitively sensitive

  information—to the extent there is any—in the documents and deposition transcripts

  identified in Exhibit A.
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        Defendants moved to seal—in their entirety—147 exhibits, 12 deposition

  transcripts, and 4 expert reports. By contrast, Plaintiffs reviewed each and every

  docket entry that has been temporarily filed under seal and proposed line-by-line

  redactions where possible as the least restrictive means of protecting their

  confidential information. See ECF Nos. 152, 153.

        When a party moves to place an entire document under seal, the Court should

  reject that request if competitively sensitive information can be redacted from the

  document.     Bock v. Pressler & Pressler, LLP, Civil Action No. 11-7593

  (KM)(MCA), 2014 WL 1233039, at *3 (D.N.J. Mar. 25, 2014) (“Defendants’

  request to seal the entire document is overly broad and not the least restrictive

  alternative, as required by Local Rule 5.3(c).”); Younes, 2014 WL 1959246 at *4 n.5

  (D.N.J. May 15, 2014) (“where a less restrictive alternate exists, a motion to seal

  will fail”); Supernus Pharms., Inc. v. Actavis, Inc., Civil No. 13-4740 (RMB/JS),

  2014 WL 6474039, at *3 (D.N.J. Nov. 18, 2014) (“The parties in total seek to seal

  22 exhibits in full. After reviewing the subject materials, the Court finds that not all

  of the materials at issue contain sensitive and confidential information. Instead, the

  appropriate course of action is for [the parties] to seek to redact the portions of the

  material that actually reference confidential or proprietary information.”); Connor v.

  Sedgwick Claims Mgmt. Servs., Inc., 796 F. Supp. 2d 568, 592 (D.N.J. 2011) (“After

  review of the documents Defendant seeks to seal, the Court concludes a less


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  restrictive alternative is available—Defendant can file unsealed redacted copies.”).

         Redactions usually are the least restrictive means to protect any information

  that meets the Third Circuit’s sealing standard (such as current prices or the names

  of commercially sensitive business partners). Yet Defendants did not even try to

  explain why they could not propose redactions to protect their competitively

  sensitive information, as Plaintiffs did in their respective motions to seal. The best

  they could muster is a pro forma representation that “[t]he request to seal materials

  identified in Exhibit A is the least restrictive alternative available to Defendants to

  protect this information.” ECF 151-1, at ¶ 10. But that is a far cry from what is

  required for Defendants to meet their burden. See Cendant, 260 F.3d at 194 (“Broad

  allegations of harm, bereft of specific examples or articulated reasoning, are

  insufficient.”).

         Defendants’ motion to seal itself confirms that their sealing requests are far

  overbroad because it is riddled with inconsistent demands. For example, Defendants

  did not move to seal this sentence in Plaintiffs’ preliminary injunction brief:

  “Smiths’ CADD-MS 3 pump is the only pump available in the United States to

  administer subcutaneous infusions of treprostinil.” ECF 106-1, at 5. But they did

  move to seal the supporting testimony from Kevin Gray and Nathan Walker that is

  cited for that proposition. See ECF 151-1, at 109, 114 (moving to seal Glass Decl.,

  Exhibit C, which contains the cited testimony from Mr. Gray, and Glass Decl.,


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  Exhibit I, which contains the cited testimony from Mr. Walker).

           Defendants’ motion is full of these sorts of internal inconsistencies:

      Statements in Briefing Defendants       Supporting Materials Defendants
      Did Not Move to Seal2                   Moved to Seal
      “Without cartridges, the pumps are      Glass Decl., Ex. H (Deposition of Ross
      useless.” ECF 106-1, at 6.              Gencheff); Ex. D (Deposition of Beth
                                              Rhodes); Ex. J (Deposition of Chris
                                              Quinn).
      “At the time . . . treatments.” ECF     Glass Decl., Ex. I (Deposition of Nathan
      106-1, at 7.                            Walker), Ex. C (Deposition of Kevin
                                              Gray), Ex. B (Deposition of Jay
                                              Watson)
      “The July . . . cartridges.” ECF 106-1, Glass Decl, Ex. D (Deposition of Beth
      at 8.                                   Rhodes)
      “At the time . . . of 2019.” ECF 106-1, Glass Decl., Ex. 705
      at 10–11.
      “Rhodes . . . agreements.” ECF 106-1, Glass Decl, Ex. 89; Ex. D (Deposition
      at 11.                                  of Beth Rhodes)
      “On April 8 . . . again.” ECF 106-1, at Glass Decl., Ex. 56
      15–16.

           Because they have not undertaken the effort to identify with specificity the

  information in their documents and testimony that merits sealing (if any such

  information even exists), Defendants have failed to carry their “heavy burden,”

  Miller, 16 F.3d at 551, to keep their documents and testimony under seal.




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   Defendants have not moved to seal any of the information in this table. Out of an
  abundance of caution, however, where information is not already available on the
  public docket, Plaintiffs have chosen to selectively describe the statements at issue.

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                                    CONCLUSION

        For all these reasons, Defendants’ Motion to Seal, ECF 151, should be denied

  with respect to the specific sealing requests to which Plaintiffs have lodged

  objections, as reflected in the attached Exhibit A.



   Dated: December 2, 2019           Respectfully submitted,



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